       Case 18-81598                Doc 9          Filed 08/01/18 Entered 08/01/18 23:23:53                          Desc Imaged
                                                   Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              RICHARD ROBERT CHARHUT                                            Social Security number or ITIN        xxx−xx−7456
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 7/29/18
Case number:          18−81598


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       RICHARD ROBERT CHARHUT

2.      All other names used in the
        last 8 years

3.     Address                               1555 TIMBERWOOD CT
                                             Sycamore, IL 60178

4.     Debtor's attorney                     Juul H Thompson                                        Contact phone 630 879−9255
                                             Juul H Thompson, Attorney at Law                       Email: jthom81081@aol.com
       Name and address                      105 Hamlet Street
                                             Batavia, IL 60510

5.     Bankruptcy trustee                    James E Stevens                                        Contact phone 815−962−6611
                                             Barrick, Switzer, Long, Balsley & Van Ev               Email: jimstevens@bslbv.com
       Name and address                      6833 Stalter Drive
                                             Rockford, IL 61108
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
      Case 18-81598                  Doc 9        Filed 08/01/18 Entered 08/01/18 23:23:53                                 Desc Imaged
                                                  Certificate of Notice Page 2 of 3
Debtor RICHARD ROBERT CHARHUT                                                                                              Case number 18−81598


6. Bankruptcy clerk's office                    Western Division                                             Hours open: 8:30 a.m. until 4:30
                                                327 South Church Street                                      p.m. except Saturdays, Sundays
    Documents in this case may be filed at this Rockford, IL 61101                                           and legal holidays.
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 1−866−222−8029

                                                                                                             Date: 7/30/18

7. Meeting of creditors                          September 11, 2018 at 02:30 PM                              Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              308 West State Street, Room 40,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Rockford, IL 61101
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 11/13/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
           Case 18-81598            Doc 9       Filed 08/01/18 Entered 08/01/18 23:23:53                        Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-81598-TML
RICHARD ROBERT CHARHUT                                                                                     Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-3                  User: kkrystave                    Page 1 of 1                          Date Rcvd: Jul 30, 2018
                                      Form ID: 309A                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 01, 2018.
db             +RICHARD ROBERT CHARHUT,   1555 TIMBERWOOD CT,    Sycamore, IL 60178-2720
tr             +James E Stevens,   Barrick, Switzer, Long, Balsley & Van Ev,    6833 Stalter Drive,
                 Rockford, IL 61108-2582
26942911       +Bank of America,   4909 Savarese Circle,   Fl1-908-01-50,    Tampa, FL 33634-2413
26942913       +Cathy Jo Charhut,   311 East Shannon St,   Elburn, IL 60119-8918
26942918       +Mr. Cooper,   Attn: Bankruptcy,   8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
26942919       +Nmac,   Attn: Bankruptcy,   Po Box 660360,    Dallas, TX 75266-0360

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jthom81081@aol.com Jul 31 2018 00:44:29       Juul H Thompson,
                 Juul H Thompson, Attorney at Law,   105 Hamlet Street,     Batavia, IL 60510
26942910       +EDI: AMEREXPR.COM Jul 31 2018 04:33:00      Amex,   Correspondence/Bankruptcy,    Po Box 981540,
                 El Paso, TX 79998-1540
26942914       +E-mail/Text: bankruptcy@cavps.com Jul 31 2018 00:46:07       Cavalry Portfolio Services,
                 Attn: Bankruptcy Department,   500 Summit Lake Ste 400,     Valhalla, NY 10595-2322
26942915       +EDI: CHASE.COM Jul 31 2018 04:33:00      Chase Card Services,    Correspondence Dept,
                 Po Box 15298,   Wilmington, DE 19850-5298
26942917       +EDI: DISCOVER.COM Jul 31 2018 04:33:00      Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
26942921       +EDI: PRA.COM Jul 31 2018 04:33:00      Portfolio Recovery,    Po Box 41021,
                 Norfolk, VA 23541-1021
26942924       +EDI: PRA.COM Jul 31 2018 04:33:00      Portfolio Recovery,    PO 41021,   Norfolk, VA 23541-1021
26942926       +EDI: VERIZONCOMB.COM Jul 31 2018 04:34:00      Verizon,    Attn: Wireless Bankrupty Admin,
                 500 Technology Dr Ste 500,   Weldon Springs, MO 63304-2225
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26942912*        +Bank of America,    4909 Savarese Circle,    Fl1-908-01-50,   Tampa, FL 33634-2413
26942916*        +Chase Card Services,    Correspondence Dept,    Po Box 15298,   Wilmington, DE 19850-5298
26942920*        +Nmac,   Attn: Bankruptcy,    Po Box 660360,    Dallas, TX 75266-0360
26942922*        +Portfolio Recovery,    Po Box 41021,   Norfolk, VA 23541-1021
26942923*        +Portfolio Recovery,    Po Box 41021,   Norfolk, VA 23541-1021
26942925*        +Portfolio Recovery,    PO 41021,   Norfolk, VA 23541-1021
                                                                                                TOTALS: 0, * 6, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 01, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2018 at the address(es) listed below:
              James E Stevens   jimstevens@bslbv.com, IL48@ecfcbis.com
              Juul H Thompson   on behalf of Debtor 1 RICHARD ROBERT CHARHUT jthom81081@aol.com
              Patrick S Layng   USTPRegion11.MD.ECF@usdoj.gov
                                                                                            TOTAL: 3
